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                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              )
                                                      )
            v.                                        )    CRIMINAL NO. 22-00060-BAH
                                                      )
VINCENT GILLESPIE                                     )


                                          NOTICE OF APPEAL

        Defendant, Vincent Gillespie, hereby gives notice that he appeals to the United States Court of

Appeals for the District of Columbia from the final Judgment entered on April 17, 2023.



                                                  VINCENT GILLESPIE
                                                  By his attorneys,


                                                  /s/ Timothy G. Watkins
                                                  Timothy G. Watkins
                                                  Forest O’Neill-Greenberg
                                                  Aziza Hawthorne
                                                  Federal Defender Office
                                                  51 Sleeper Street, Fifth Floor
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                                     CERTIFICATE OF SERVICE

         I, Timothy G. Watkins, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing (NEF) on
April 17, 2023.

                                                  /s/ Timothy G. Watkins
                                                  Timothy G. Watkins
